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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
_______________________________________

 STATE OF NEW YORK, et al.,

                           Plaintiffs,
                                                 No. 18-cv-02921
                    v.

 UNITED STATES DEPARTMENT OF
  COMMERCE, et al.,

                        Defendants.
_______________________________________

                  DEFENDANTS’ SUR-REPLY IN OPPOSITION
                TO NYIC PLAINTIFFS’ MOTION FOR SANCTIONS


Dated: November 22, 2019

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                                           INTRODUCTION

        Plaintiffs’ motion for sanctions rests on two premises. The first is the allegation, itself the

outgrowth of speculation and innuendo, that Dr. Thomas Hofeller played a “central role” in the

preparation of the December 12, 2017, Department of Justice (“DOJ”) request to the Census Bureau

to reinstate a citizenship question on the 2020 Census (the “Gary Letter”). See NYIC Pls.’ Sur-Reply

in Supp. of Mot. for Sanctions, ECF No. 665 (“Pls.’ Surreply”) at 1. The second is the equally

unsupported accusation that Defendants suppressed relevant evidence in order to cover up Hofeller’s

alleged involvement. See id. Both claims, for which Plaintiffs have presented no genuine evidence,

have already been debunked. See generally Defs.’ Opp. to NYIC Pls.’ Mot. for Sanctions, ECF No. 648

(“Defs.’ Opp.”).

        Plaintiffs now rely on several text-message exchanges, recently produced by Mark Neuman to

the United States House of Representatives Committee on Oversight and Reform, as supposed

evidence both of Hofeller’s participation in the preparation of the Gary Letter, and of efforts by

Defendants to conceal Hofeller’s claimed “role.”             As discussed below, these text messages

demonstrate nothing of the kind, and are further proof only of Plaintiffs’ willingness to leap to

unsubstantiated conclusions to promote a false narrative of litigation misconduct by their opponents.

                                              ARGUMENT

        A. Plaintiffs Still Have Adduced No Evidence That Defendants or Gore
           Intentionally Withheld Relevant Evidence.

        Plaintiffs contend that an October 6, 2017, text message between Neuman and then-Acting

Assistant Attorney General for Civil Rights John Gore “definitively shows” that Defendants

misrepresented “how the VRA pretext was relayed from Hofeller through Neuman to Gore,” and that

“Gore did not, as testified in this case, write the initial draft of the DOJ request letter[.]” Pls.’ Surreply

at 3; see generally id. at 2-4. The text message offers no support for such claims.
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        The record establishes that when Neuman met with Gore in October 2017, he provided Gore

a hard copy of a proposed letter to be sent from DOJ to the Census Bureau requesting reinstatement

of a citizenship question (the “Neuman Letter”). See NYIC Pls.’ Mot. for Sanctions, ECF 635, at 10;

Defendants’ Exhibit 2, ECF No. 648-1, (“Defs.’ Exh.”). 1 Contrary to Plaintiffs’ relentless but

unsupported characterization, the Neuman Letter was not a first draft of the Gary Letter prepared by

Gore. As Defendants have already observed, the two letters bear no resemblance to one another in

content or form, compare Defs.’ Exh. 2 to Defs.’ Exh. 3; following Gore’s one and only meeting with

Neuman, Gore deposited the Neuman Letter in a file folder, and did not rely on or even refer to it in

preparing the Gary Letter; and Gore consulted neither Neuman nor Hofeller (nor Hofeller’s 2015

redistricting study) in drafting the Gary Letter. See Defs.’ Opp. at 5-6, 9-10; Decl. of John Gore, Defs.’

Exh. 6, ¶¶ 8-16. There is no hidden connection between Hofeller and DOJ’s request to the Census

Bureau to reinstate the citizenship question.

        The October 6, 2017, text message produced by Neuman changes none of these facts. All it

apparently reveals is that shortly before meeting with Gore in October 2017, Neuman texted an

electronic version of the Neuman Letter to Gore, a version that was nearly identical to the hard-copy

version he also provided to Gore, shortly thereafter, when they met face to face. 2 It does not show

that Gore relied on the electronic version of Neuman’s draft in “writ[ing] the initial draft of the [Gary]

[L]etter,” as Plaintiffs claim, Pls.’ Surreply at 3, any more than the mere existence of the hard copy

shows that Gore made use of that version. But just so the record remains clear, Gore affirms, in a

supplemental declaration filed herewith, that “[t]he texted version of the Neuman Letter, like the hard-

    1
      Plaintiffs continue to maintain, falsely, that Defendants “first improperly withheld” the Neuman
Letter and then “belatedly disclosed” it in the midst of a “90,000 page document dump.” Pls.’ Surreply
at 2-3. Defendants have already rebutted these misrepresentations of the record. See Defs.’ Opp. at 6
& n.1. Plaintiffs offer no facts to justify their continued mischaracterization of these events.
    2
      The electronic version of the Neuman Letter, Pls.’ Surreply Exh. C, is addressed to a different
Census Bureau official than the hard-copy version, and includes citations to two court decisions, and
a quotation from one of them, that are not included in the hard copy. Their contents are otherwise
identical. Compare id. to Defs.’ Exh. 2.
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copy version, was not a draft of the Gary Letter,” and that he “did not consult, refer to, or rely upon

the texted version of the Neuman Letter in drafting the Gary Letter.” Second Decl. of John Gore

(filed herewith as Defendants’ Exhibit 28) ¶¶ 7-8; see also id. ¶ 10.

        Gore also affirms that during the litigation of this case he had no recollection of receiving the

electronic version of the Neuman Letter, or of a text exchange with Neuman, and has no such

recollection now. Id. ¶¶ 4-6. A search of text messages on his personal cell phone (conducted after

he reviewed Plaintiffs’ surreply) confirms that he did receive an October 6, 2017, text from Neuman

attaching a draft of the Neuman letter. Id. ¶ 5. But that review revealed no other text-message chains

on his personal phone concerning the Census. Id. Thus, contrary to Plaintiffs’ accusations, see Pls.’

Surreply at 3, Gore’s deposition testimony regarding his use of personal text messaging to conduct

Government business was accurate to the best of his recollection at the time.

        In short, the October 6, 2017, text message reveals nothing new about the actual process by

which the Gary Letter was prepared, or its source material. It lends no support to Plaintiffs’ persistent

but baseless suspicions of a connection between Hofeller (or his study) and the Gary Letter. Nor

does it provide a basis on which to charge (must less to conclude) that Defendants, having produced

the hard-copy version of the Neuman Letter, nevertheless intentionally withheld the electronic (and

nearly identical) version of that letter, or any other evidence, in discovery.

        B. Neuman’s August 30, 2017, E-Mail Exchange With Hofeller Reveals No
           Role Played by Hofeller in the Preparation of the Gary Letter.

        Plaintiffs next cite an August 30, 2017, text-message exchange between Neuman and Hofeller

that they describe as “confirm[ation] that Hofeller played an even bigger part in Defendants’ scheme

than previously was understood,” and as “further proof that Defendants improperly withheld

pertinent information[.]” Pls.’ Surreply at 1; see generally id. at 1-2. These claims, too, lack support.

        In the first text, Pls.’ Surreply Exh. A, Neuman attached an excerpt from what would later

become the Neuman Letter, stating to Hofeller, “Please make certain that this language is correct.

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Dale doesn’t return my calls.” (“Dale” evidently is a reference to Hofeller’s then-business associate,

Dale Oldham.) Later that day Hofeller responded, “Mark: Dale just read it, and says it is fine as

written.” Id., Exh. B. Thus, Plaintiffs get it wrong from the start when they describe this exchange as

evidence that Neuman sought and received Hofeller’s “affirmation” of language used in the Neuman

Letter. Pls.’ Surreply at 1. Neuman plainly was seeking and ultimately obtained Oldham’s “affirmation.”

        That observation merely underscores, however, the extent to which Plaintiffs’ claims rely on

mischaracterizations of the record. The fundamental point remains that regardless of the genesis of

the Neuman Letter, Gore did not rely on it at all when drafting the Gary Letter. See supra at 2-3. Thus,

even if Hofeller had, in fact, blessed the language included in the Neuman Letter, he still would have

played no part, much less an “essential role,” Pls.’ Surreply at 2, in the preparation of DOJ’s request

for reinstatement of a citizenship question.

        Another point bears (re-)emphasis here. Neuman’s failure, for whatever reason, to produce

documents in this case that he later provided to the Oversight Committee is not evidence that

“Defendants [have] improperly withheld pertinent information.” Pls.’ Surreply at 1. As Defendants

have explained, when Plaintiffs issued a subpoena to Neuman, it was he and his counsel who collected

and reviewed documents in his possession for responsive information, and determined which should

be produced. See Defs.’ Opp. at 25. Defendants’ counsel merely reviewed Neuman’s intended

production for documents protected from disclosure by governmental privileges (and identified the

Neuman documents withheld on that basis). Id. at 26. Defendants cannot be faulted for Neuman’s

failure, if any, to produce documents that he should have disclosed in response to Plaintiffs’ subpoena.

        C. Neuman’s Text Messages With Davidson Reveal No New Information,
           Nor Suggest That Defendants Improperly Withheld Evidence.

        Finally, Plaintiffs identify two text messages that Peter Davidson, then the Department of

Commerce General Counsel, sent to Neuman in October 2017. In the first, on October 7, Davidson

wrote, “Hey Mark . . . sorry I missed your call . . . I will try you tomorrow,” and in the second, on

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October 8, “Thx He appreciated the update and your help.” Pls.’ Surreply Exh. D. Plaintiffs point

to these vague messages as evidence that Defendants intentionally concealed communications

showing that “Neuman gave a readout [of his meeting with Gore] to Davidson, who discussed it with

Secretary Ross.” Id. at 4. This accusation of misconduct is also baseless.

        Defendants included in the Administrative Record a much more express e-mail exchange

between Davidson and Secretary Ross concerning Neuman’s “readout.” On October 8, 2017,

Davidson wrote, “I’m on the phone with Mark Neuman right now . . . he is giving me a readout of

his meeting last week. I can give you an update via phone if you like[.]” Defendants’ Exhibit 29 (filed

herewith). Secretary Ross then responded, “Please call me[,]” to which Davidson replied, “Will do.”

Id. This information should not come as news to Plaintiffs. They introduced these e-mails at trial as

Plaintiffs’ Exhibit 52, see id., and cited them in their proposed findings of fact, Pls.’ Proposed Post-

Trial Findings of Fact, ECF No. 545, ¶¶ 448-49 (relevant excerpts filed herewith as Defendants’

Exhibit 30). No reasonable claim can be made that a failure to produce Davidson’s insubstantial text

messages with Neuman reflects an effort to conceal communications with the Secretary, when those

communications are documented in much greater detail in e-mails that Defendants, in fact, disclosed.

        That is all the more so considering Mr. Davidson’s supplemental declaration, filed herewith.

There he affirms that he has no recollection of the text messages with Neuman, nor did he recall them

during discovery in this case, or when he prepared his August 1, 2019, declaration in support of

Defendants’ opposition to Plaintiffs’ sanctions motion. Supp. Decl. of Peter Davidson (filed herewith

as Defendants’ Exhibit 31) (“Davidson Supp. Decl.”) ¶ 3. In addition, a search of Davidson’s

personal cell phone shows that, apart from a version of this text-message string with Neuman that

includes an additional January 5, 2018, exchange, Davidson neither sent nor received additional text

messages with Neuman specifically, or concerning the 2020 Census generally. 3
    3
      By the same token, the failure to produce the text messages concerning Neuman’s “readout” of
his meeting with Gore does not “raise[ ] substantial questions about Davidson’s averment,” in his
prior declaration, “that he ‘was unaware’ that Neuman ‘had in his possession’” the Neuman Letter.
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       At most, Neuman’s production of the text-message chains cited by Plaintiffs suggests that

Defendants’ discovery searches in this case may not have been perfect, but the “Federal Rules of Civil

Procedure do not require perfection.” Freedman v. Weatherford Int’l, Ltd., 2014 WL 4547039 at *3

(S.D.N.Y. Sept. 12, 2014). Rather, a party’s search for documents responsive to an opponent’s

discovery requests must be reasonable and proportionate to the needs of the case. See Lopez v. Don

Herring, Ltd., 327 F.R.D. 567, 578 (N.D. Tex. 2018); Reinsdorf v. Skechers USA, Inc., 296 F.R.D. 604,

614-15 (C.D. Cal. 2013). Where Defendants assembled a 13,000-page administrative record; the

Commerce Department produced 24,000 pages of documents in discovery; and DOJ produced an

additional 130,000 pages of documents (on the basis of which Plaintiffs prevailed in the litigation),

Neuman’s production of three additional text-message strings does not call the reasonableness of the

Government’s good-faith search efforts into doubt. See Freedman, 2014 WL 4547039 at *3 (finding it

“unsurprising,” considering the size of defendant’s production, “that some relevant documents may

have fallen through the cracks”).

                                           *       *        *
       Plaintiffs’ sur-reply reconfirms that their allegations of misconduct rest on mischaracterizations

of the evidence—most notably, their repeated and false insistence that the Neuman Letter is a “first

draft” of the Gary Letter. The actual, objective evidence in the record makes clear that Defendants

did not conceal Hofeller’s role in crafting DOJ’s formal request to reinstate the citizenship question,

for the simple reason that Hofeller had no such role. No amount of innuendo and speculation can

change that simple truth.

                                          CONCLUSION

       Plaintiffs’ motion for sanctions should be denied.



Pls.’ Surreply at 4-5 (quoting April 1, 2019, Davidson declaration). As Davidson re-affirms, he has
“no recollection of ever discussing the Neuman letter with Mr. Neuman, whether following his
meeting with Mr. Gore, or otherwise.” Davidson Supp. Decl. ¶¶ 4-5.
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Dated: November 22, 2019


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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
_______________________________________

 STATE OF NEW YORK, et al.,

                           Plaintiffs,
                                                       No. 18-cv-02921
                     v.

 UNITED STATES DEPARTMENT OF
  COMMERCE, et al.,

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_______________________________________

                 DEFENDANTS’ SUR-REPLY IN OPPOSITION
               TO NYIC PLAINTIFFS’ MOTION FOR SANCTIONS


                                     EXHIBIT INDEX

      28.   Second Declaration of John Gore

      29.   Plaintiffs’ Trial Exhibit PX-052

      30.   Plaintiffs’ Joint Proposed Post-Trial Findings of Fact (excerpt)

      31.   Supplemental Declaration of Peter Davidson
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                        EXHIBIT 30
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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK, et al.,

   Plaintiffs,

   v.                                      18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

   Defendants.


THE NEW YORK IMMIGRANT
COALITION et al.,

                    Plaintiffs,
                                           18-CV-5025 (JMF)
           v.

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                    Defendants.


          PLAINTIFFS’ JOINT PROPOSED POST-TRIAL FINDINGS OF FACT
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439. On September 19, 2017, Secretary Ross sent an email with the subject “Census” advising

Peter Davidson that “Wendy and I spoke with the AG yesterday. Please follow up so we can

resolve this issue today.” PX-57 (AR).

440. Ms. Teramoto testified that she has no recollection of this event. Teramoto Dep. at 84.

441. On September 22, 2017, Mr. Uthmeier reached out to Mr. Gore. Gore Dep. at 117-18

(objection).

442. Mr. Gore returned Mr. Uthmeier’s call, on or about September 22, 2017, and they

discussed the addition of a citizenship question to the 2020 Census. Gore Dep. at 118, 119.

443. Mr. Uthmeier has no experience as counsel in VRA cases, litigating Section 2 redistricting

cases involving the use of CVAP data, or otherwise assessing the reliability of CVAP data used

in VRA litigation. Gore Dep. at 117-118.

444. After their call, Mr. Gore was also provided Mr. Uthmeier’s August 11 memorandum

discussing addition of a citizenship question. Gore Dep. at 118.

445. With the August 11 memorandum, Mr. Gore also received a handwritten note from Mr.

Uthmeier. Gore Dep. at 118–119. This handwritten note from Uthmeier to Gore contained

information that DOJ considered in drafting the final letter requesting a citizenship question. Id.

at 123-24. Defendants have withheld this note on the basis of privilege.

446. Mr. Gore responded to that note in a discussion with Mr. Uthmeier and Mr. Davidson,

purportedly to provide legal advice in anticipation of litigation. Gore Dep. at 120-124.

447. DOJ relied, in part, on Mr. Uthmeier’s input in reaching its decision to send the December

12, 2017 letter to the Census Bureau. Gore Dep. at 123-124

448. On Sunday October 8, Secretary Ross sent an email to Mr. Davidson with the subject line

“Letter from DOJ” and asking “what is its status.” PX-52 (AR).




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449. Mr. Davidson responded “I’m on the phone with Mark Neuman right now . . . he is giving

me a readout of his meeting last week.” PX-52 (AR).

450. The following day, on October 9 (Columbus Day), Secretary Ross issued a press release

applauding Trump Administration programs to “swiftly return illegal entrants” and to “stop

sanctuary cities, asylum abuse and chain immigration.” PX-479.

451. Also on October 9, Mr. Willard sent Undersecretary Kelley an email about a citizenship

question stating “1) must come from DOJ, 2) court cases you can hang your hat on, 3) every

census since 1880, except 2000.” PX-148 (R) (AR).

452. In October of 2017, AAAG Gore, John Zadrozny of the White House Domestic Policy

Council, along with Rachael Tucker, Mr. Hamilton, and others from DOJ participating in a

conference call to discuss the addition of a citizenship question to the Census without the

participation of any Commerce Department or Census Bureau personnel. Gore Dep. at 409–12.

453. During the autumn of 2017, Mr. Gore also discussed a citizenship question with Mr.

Neuman with the understanding that he was advising the Department of Commerce and Census

Bureau on the issue. Gore Dep. at 438.

454. On or about November 1, 2017, Mr. Gore wrote the initial draft of the letter from DOJ to

Census Bureau requesting the inclusion of a citizenship question on the 2020 Decennial Census.

Gore Dep. at 126–127 (objection).

455. On Wednesday, November 1, 2017, Mr. Gore emailed Chris Herren, Chief of DOJ’s

Voting Section, and copied Ben Aguiñaga. Gore Dep. at 126 (objection); PX-211.

456. The subject of the email was: “Confidential & Close Hold: Draft Letter.” Gore Dep. at

126 (objection). Gore testified that he intended that Herren could not share the draft letter

without Gore’s approval. Gore Dep. at 130.




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